
PER CURIAM.
Whereas, the judgment of this court was entered on the 29th day of July, 1960 (122 So.2d 616) reversing the judgment of the Circuit Court of the Eleventh Judicial Circuit in and for Dade County, Florida, in the above styled cause; and
Whereas, on review of this court’s judgment, by certiorari, the Supreme Court of Florida, by its opinion and judgment filed *232June 28, 1961, 131 So.2d 730, quashed this court’s judgment of reversal; and
Whereas, by the mandate of the Supreme Court of Florida dated the 17th day of July, 1961, now lodged in this court the cause was remanded with directions to enter an order consistent with the said judgment and opinion of the Supreme Court of Florida;
Therefore, it is Ordered that the mandate of this court issued in this cause on September 20, 1960, is withdrawn, the judgment of this court filed July 29, 1960, is vacated, and the said judgment of the circuit court appealed from in this cause is affirmed; costs allowed shall be taxed in the circuit court (Rule 3.16, subd. b, F.A.R., 31 F.S.A.).
